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1    DANIEL J. BRODERICK, #89424
     Federal Defender
2    CHARLES J. LEE, Bar #221057
     Assistant Federal Defender
3    Designated Counsel for Service
     2300 Tulare Street, Suite 330
4    Fresno, California 93721-2226
     Telephone: (559) 487-5561
5
     Attorney for Defendant
6    MARK MCGRATH
7
8                                  IN THE UNITED STATES DISTRICT COURT
9                                FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                         )   NO. 1:10-cr-00131 AWI
                                                       )
12                          Plaintiff,                 )
                                                       )   WAIVER OF DEFENDANT’S PERSONAL
13          v.                                         )   PRESENCE AT PRETRIAL PROCEEDINGS;
                                                       )   ORDER THEREON
14   MARK MCGRATH,                                     )
                                                       )
15                          Defendant.                 )
                                                       )
16                                                     )
17
18          Pursuant to F. R. Crim. P. 43(b)(2) and (3), Defendant, Mark McGrath, having been advised of his
19   right to be present at all stages of the proceedings, hereby requests that this Court proceed in his absence
20   on every occasion that the Court may permit, pursuant to this waiver. Defendant agrees that his interests
21   shall be represented at all times by the presence of his attorney, the Office of the Federal Defender for the
22   Eastern District of California, the same as if Defendant were personally present, and requests that this
23   court allow his attorney-in-fact to represent his interests at all times. Defendant further agrees that notice
24   to defendant's attorney that defendant's presence is required will be deemed notice to the defendant of the
25   requirement of his appearance at said time and place.
26          Defendant makes this request because of the time, distance and expense involved, travel to Fresno
27   for court appearances would be both a financial and personal hardship. Defendant wishes to limit the
28   number of personal court appearances and minimize the time and expense of travel to court. Mr. McGrath
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1    is currently self-employed but has limited hours. Driving an older pickup truck, the cost of gasoline is
2    considerable for him to make the trip from Bakersfield. Mr. McGrath is currently in compliance with all
3    his conditions under Pretrial Services.
4            This request is made pursuant to Fed.R.Crim.P. 43(b)(3).
5
6            DATED: 4/30/10
7                                                         /s/ Mark McGrath
                                                          MARK MCGRATH
8
9
10           DATED: 5/6/10
11                                                        /s/ Charles J. Lee
                                                          CHARLES J. LEE
12                                                        Assistant Federal Defender
                                                          Attorney for Defendant
13                                                        Mark McGrath
14
15
16                                                   ORDER
17           GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that Defendant’s appearance may be
18   waived at any and all non-substantive pretrial proceedings until further order.
19
20   IT IS SO ORDERED.
21   Dated:      May 7, 2010                              /s/ Anthony W. Ishii
     0m8i78                                      CHIEF UNITED STATES DISTRICT JUDGE
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23
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28

     W aiver of Defendant’s Personal Presence;
     [Proposed] Order Thereon                            -2-
